
USCA1 Opinion

	











                            United States Court of Appeals
                                For the First Circuit

                                 ____________________


          No. 95-1643

                       PUERTO RICO MARITIME SHIPPING AUTHORITY,

                                     Petitioner,

                                          v.

                             FEDERAL MARITIME COMMISSION
                                         and
                               UNITED STATES OF AMERICA

                                     Respondents.

                                 ____________________


                                    STANLEY HECHT

                                     Intervenor.

                                 ____________________


                          PETITION FOR REVIEW OF AN ORDER OF
                           THE FEDERAL MARITIME COMMISSION

                                 ____________________

                                        Before

                                 Lynch, Circuit Judge,
                                        _____________
                           Campbell, Senior Circuit Judge,
                                     ____________________
                              and Watson,* Senior Judge.
                                           ____________

                                 ____________________

               Amy  Loeserman Klein, with  whom Jenkens &amp;  Gilchrist was on
               ____________________             ____________________
          brief, for petitioner Puerto Rico Maritime Shipping Authority.
               Carol  J. Neustadt,  Attorney, Federal  Maritime Commission,
               __________________
          with whom  Robert D. Bourgoin,  General Counsel, and  C. Douglass
                     __________________                         ___________
          Miller,  Attorney,  Federal  Maritime  Commission,  and  Anne  K.
          ______                                                   ________
          Bingaman,  Assistant Attorney  General,  John J.  Powers III  and
          ________                                 ___________________
                              
          ____________________

               *Of  the  U.S.  Court  of International  Trade,  sitting  by
          designation. 














          Robert J. Wiggers, Attorneys, U.S. Department of Justice, were on
          _________________
          brief,  for respondents  Federal  Maritime Commission  and United
          States of America.
               Rick A. Rude for intervenor Stanley Hecht.
               ____________
               Nathan  J. Bayer, with whom  Torbjorn B. Sjogren  and Sher &amp;
               ________________             ___________________      ______
          Blackwell  were on brief, for amici curiae United States Atlantic
          _________                     _____ ______
          and   Gulf/Southeastern   Caribbean  Conference,   United  States
          Atlantic and Gulf Hispaniola Steamship Freight Association, Latin
          American  Shipping  Service   Association,  Venezuelan   American
          Maritime Association and the Credit Agreement.


                                 ____________________

                                   February 6, 1996
                                 ____________________





















































                      LYNCH,  Circuit  Judge.   May the  Federal Maritime
                      LYNCH,  Circuit  Judge.
                              ______________

            Commission,  in  exercising   its  administrative   lawmaking

            function, excuse a party from  paying sums awarded against it

            by  a final  judgment entered  by a  U.S. District  Court and

            affirmed  on appeal?   We  preserve harmony  between the  two

            systems  of law  and  respect for  judgments  entered by  the

            courts by concluding,  on the  facts of this  case, that  the

            party was  not free  before the  agency to  seek to undo  the

            court  judgment.      Accordingly,  we   reverse  the   FMC's

            determination that  Save-On Shipping  (SOS) need not  pay the

            attorneys'  fees and  costs awarded  to Puerto  Rico Maritime

            Shipping  Authority  (PRMSA)  by the  United  States District

            Court  for the Southern District of Florida and by the United

            States Court of  Appeals for  the Eleventh Circuit.   To  the

            extent  that the  FMC's  order is  prospective  and does  not

            involve sums awarded by the judgment entered, we affirm.

                      PRMSA  carried four  shipments  of frozen  food and

            other  items to  San Juan,  Puerto  Rico for  SOS.   When SOS

            refused  to pay about $11,000 of PRMSA's bill, PRMSA began an

            action  against SOS in  the federal court  in Florida seeking

            the unpaid  freight charges,  interest, collection  costs and

            attorneys' fees  pursuant to  the  terms of  PRMSA's bill  of

            lading  to SOS.1   Jurisdiction  was under  the maritime  and

                                
            ____________________

            1.  PRMSA's lawsuit in federal district court was filed by an
            agent of PRMSA, Puerto  Rico Marine Management, Inc. (PRMMI),
            and the judgment  in the federal court action ran in favor of

                                         -3-
                                          3















            admiralty  jurisdiction of  the federal  courts, 28  U.S.C.  

            1333.  The bill of lading, which employed language found in a

            bill of lading tariff filed with the FMC, provided that: 

                      [t]he shipper, consignee, holder hereof, and owners
                      of the goods shall  be jointly and severally liable
                      to  Carrier  for  the   payment  of  all   freight,
                      demurrage,  General  Average  and   other  charges,
                      including, but not limited to court costs, expenses
                      and   reasonable   attorney's   fees  incurred   in
                      collecting sums due Carrier.

            SOS moved for summary judgment;  PRMSA filed a cross  motion.

            SOS lost on both motions.  The court awarded PRMSA the unpaid

            freight, attorneys'  fees and  costs, enforcing the  terms of

            the bill of lading.

                      SOS moved  for reconsideration and then  for a stay

            of  the  district  court   proceeding  while  SOS  pursued  a

            complaint (FMC Docket  No. 92-12) it had  filed (after losing

            the  summary   judgment  motions)  before  the   FMC.    That

            administrative   complaint   challenged,   inter  alia,   the
                                                       _____  ____

            attorneys' fees provision of the  tariff upon which the  bill

            of  lading was  based,  but did  not  directly challenge  the

            attorneys' fees awarded on the four shipments at issue in the

            federal court action.   It asserted that the  attorneys' fees

            tariff provision was unreasonable under sections 17 and 18(a)

            of the Shipping Act of 1916, 46 U.S.C. app.    816 and 817(a)

            (the 1916  Act), and section  2 of the  Intercoastal Shipping

                                
            ____________________

            PRMMI.   Because the distinction  between PRMSA and  PRMMI is
            unimportant to the disposition of this petition, this opinion
            refers only to PRMSA.

                                         -4-
                                          4















            Act  of  1933, 46  U.S.C.  app.    844  (the 1933  Act).   It

            involved  seven  shipments  on  which PRMSA  had  not  sought

            freight  collection  in  the   court  action.    Because  the

            shipments had occurred two  years prior to the filing  of the

            administrative complaint, SOS sought only  prospective relief

            in the form  of cease and desist orders.   SOS's motion for a

            stay of  the district  court proceedings  was the first  time

            that SOS argued before the district court that the attorneys'

            fees  provision might  be  illegal or  unreasonable and  thus

            unenforceable because it  was unilateral.   The motion for  a

            stay   did  not   argue  that   the  district   court  lacked

            jurisdiction  over   the  attorneys'  fees  issue.    Rather,

            recognizing   that  primary   jurisdiction  is   a  rule   of

            "deference" and  not of jurisdiction, it  argued that primary

            jurisdiction  was in the FMC.  The district court denied both

            of SOS's motions.

                      SOS  appealed the  judgment  to the  United  States

            Court of Appeals for  the Eleventh Circuit and moved  to stay

            the appellate  proceedings or,  in the alternative,  to refer

            the   case  to  the   FMC  under  the   doctrine  of  primary

            jurisdiction.   The  Eleventh Circuit  denied the  motion for

            stay.  It later affirmed the district court, without opinion,

            and  denied the  motion  for referral  as  moot.   PRMSA  was

            eventually awarded attorneys' fees and costs of approximately





                                         -5-
                                          5















            $100,000.  The  parties do not  identify any further  appeals

            taken by SOS in the federal court action pertinent here.

                      Having lost  in federal  court, SOS filed  a second

            complaint  before the  FMC  (FMC Docket  No. 93-21)  directly

            challenging the attorneys' fees awarded on the four shipments

            that  were   at  issue  in   the  Eleventh  Circuit.     This

            administrative  complaint also  alleged that  the tariff  and

            bill of lading language  concerning attorneys' fees and costs

            was  unlawful  and  unreasonable.    It   sought  reparations

            pursuant to section 22(a)  of the 1916 Act, 46  U.S.C. app.  

            821(a), in the amount of attorneys' fees that were granted by

            the  federal  court.   The  FMC  eventually consolidated  FMC

            Docket No. 92-12 and  FMC Docket No. 93-21 on  the attorneys'

            fees issue.

                      The  FMC agreed  with  SOS on  the attorneys'  fees

            issue.  The FMC held that  because the bill of lading  tariff

            provision was  unilateral (allowing the carrier,  but not the

            shipper,  to recover fees and costs), it was in conflict with

            an FMC decision,  West Gulf Maritime  Ass'n v. Galveston,  22
                              _________________________    _________

            F.M.C.  101   (1979),  and  the  provision   was  unjust  and

            unreasonable.  It granted SOS's relief in both FMC Docket No.

            92-12 and  FMC Docket  No. 93-21.   In  so doing,  it decided

            three issues  of relevance here.   It first  rejected PRMSA's

            argument that  claim preclusion barred  the reparations claim

            in FMC Docket No. 93-21 as  to the four shipments involved in



                                         -6-
                                          6















            the  court action.    It next  ordered PRMSA  to pay  back as

            reparations  in  FMC  Docket   No.  93-21  any  amount  PRMSA

            collected in  attorneys' fees  pursuant to the  federal court

            judgment.  It also granted SOS's motion for summary  judgment

            in  FMC Docket  No. 92-12  seeking a  cease and  desist order

            preventing PRMSA  from publication and  attempted enforcement

            of the provisions of FMC-F-No. 10 (the bill of lading tariff)

            and its  bill  of lading  allowing for  costs, expenses,  and

            attorneys' fees.

                      PRMSA has  petitioned here for review  of the FMC's

            order.    The FMC  and  the  United  States are  respondents;

            Stanley  Hecht,   president  of  SOS,  has   appeared  as  an

            intervenor.2    In  its  petition, PRMSA  presses  the  claim

            preclusion argument it made  before the FMC.  It  also claims

            that  the FMC's decision on the merits of the attorneys' fees

            issue was error. 

                      Because the question of claim preclusion is  purely

            a  matter of law within  the expertise of  the federal courts

            and  is not a question within the particular expertise of the

            FMC, our  review  of that  issue  is plenary.   Cf.  Dion  v.
                                                            ___  ____

            Secretary  of Health and Human Servs., 823 F.2d 669, 673 (1st
            _____________________________________

            Cir. 1987).   We  also  note the  doctrine that  "[j]udgments

                                
            ____________________

            2.  PRMSA's suit in the district court was filed against both
            SOS and Stanley  Hecht.  Midway  through the litigation,  SOS
            represented  that  it  had  gone  out  of  business, and  the
            litigation  was carried on only in the name of Stanley Hecht.
            In this opinion, "SOS" designates both parties.

                                         -7-
                                          7















            within the powers vested  in courts by the  Judiciary Article

            of the  Constitution may not lawfully  be revised, overturned

            or  refused  faith  and   credit  by  another  Department  of

            Government."  Chicago &amp; Southern Air Lines, Inc. v.  Waterman
                          __________________________________     ________

            S.S. Corp., 333  U.S. 103,  113 (1948).   Because we  believe
            __________

            that  FMC Docket  No.  93-21 was  barred under  principles of

            claim preclusion, we  reverse the FMC's order with respect to

            FMC Docket No. 93-21 including its order granting reparations

            of the  amount of attorneys' fees collected by PRMSA pursuant

            to the federal  court action.   We do  not, however,  believe

            that FMC  Docket No. 92-12  was barred  and, in light  of our

            deferential review of the FMC's  construction of a statute it

            administers, see  Chevron U.S.A.,  Inc. v.  Natural Resources
                         ___  _____________________     _________________

            Defense Council,  467 U.S.  837 (1984),  we affirm  the FMC's
            _______________

            order in that case.

                      1. FMC  Docket  No. 93-21:  The Reparations  Claim.
                         _______________________________________________

            Since  the identity  of the  parties and  the existence  of a

            final  judgment on the merits are not in dispute, the parties

            have  focussed  on  whether  there  was  sufficient  identity

            between  the  causes  of  action actually  litigated  in  the

            federal court action and the claim for reparations before the

            FMC.  We do not enter the fray, as do the parties,  for under

            the principle of claim preclusion,  "'a final judgment on the

            merits of  an action precludes  the parties or  their privies

            from relitigating issues  that were or could have been raised
                                                   ______________________



                                         -8-
                                          8















            in  that action.'"  Manego v.  Orleans Bd. of Trade, 773 F.2d
                                ______     ____________________

            1, 5  (1st Cir. 1985) (quoting Allen v. McCurry, 449 U.S. 90,
                                           _____    _______

            94 (1980)  (emphasis supplied)), cert. denied,  475 U.S. 1084
                                             _____ ______

            (1986);  accord  Kelly v.  Merrill  Lynch,  Pierce, Fenner  &amp;
                     ______  _____     __________________________________

            Smith, Inc., 985  F.2d 1067, 1070 (11th  Cir.), cert. denied,
            ___________                                     _____ ______

            114 S. Ct. 600 (1993).

                      The   claims   of   unreasonableness,  and   hence,

            illegality, of the attorneys' fees  provision in the bill  of

            lading could  have been raised  as an affirmative  defense in

            the  action  over  which   the  district  court  plainly  had

            jurisdiction.       Although    SOS   could    have    raised

            unreasonableness as  an affirmative defense and requested the

            district court to stay  the action and refer the  question to

            the  FMC as a matter of primary jurisdiction, see Holt Marine
                                                          ___ ___________

            Terminal,  Inc. v. United States Lines, 472 F. Supp. 487, 489
            _______________    ___________________

            (S.D.N.Y. 1978);  cf. P.R. Maritime Shipping  Auth. v. Valley
                              ___ _____________________________    ______

            Freight Sys., 856 F.2d  546, 549 (3d Cir. 1988)  (referral to
            ____________

            Interstate  Commerce Commission),  the decision to  refer was

            within the discretion of  the federal court.   Valley Freight
                                                           ______________

            Sys.,  856 F.2d at 549.  The doctrine of primary jurisdiction
            ____

            does  not implicate  the subject  matter jurisdiction  of the

            federal court.  Id.
                            ___

                      Normally,  this would  be  the end  of the  matter.

            Under the transactional approach of the Restatement  (Second)

            of Judgments    24  (1980) applicable  here, see Manego,  773
                                                         ___ ______



                                         -9-
                                          9















            F.2d at  5; see also Wallis  v. Justice Oaks II,  Ltd. (In re
                        ___ ____ ______     _____________________________

            Justice Oaks  II,  Ltd.), 898  F.2d  1544, 1551  (11th  Cir.)
            ________________________

            (applying   Restatement's   transactional  approach),   cert.
                                                                    _____

            denied,  498 U.S.  959 (1990), defendants  can no  more split
            ______

            defenses arising  out of  the same transaction  or occurrence

            than plaintiffs can split claims.  Even if  SOS's reparations

            claim  before  the FMC  is  characterized  as a  counterclaim

            rather  than  an  affirmative  defense,  it  would not  be  a

            separate cause  of action.   The reparations claim,  which is

            based on the very same four shipments at issue in the federal

            court  collection  action,  clearly  arose out  of  the  same

            transaction  or occurrence  and  virtually all  of the  facts

            necessary  to the  reparations  claim would  have formed  the

            basis of a  defense to the collection action.   Cf. Pirela v.
                                                            ___ ______

            Village  of North Aurora, 935 F.2d 909, 912 (7th Cir.), cert.
            ________________________                                _____

            denied, 502 U.S. 983 (1991).
            ______

                      Indeed,   the   required   joinder  of   compulsory

            counterclaims,  see Fed.  R.  Civ. P.  13(a) and  Restatement
                            ___

            (Second) of Judgments    22, is  designed to prevent  parties

            from hiding  behind formal distinctions between  defenses and

            counterclaims.  Under  usual circumstances, SOS's reparations

            claim would be a compulsory counterclaim and SOS's failure to

            assert  it in the federal  court action would  have barred it

            from bringing it in a subsequent action.  See id.
                                                      ___ ___





                                         -10-
                                          10















                      The  FMC urges  that those  usual rules  should not

            apply,  relying  on the  opinion  in  Government  of Guam  v.
                                                  ___________________

            American President Lines, 28 F.3d 142 (D.C. Cir. 1994).  That
            ________________________

            case held that there is no express or implied cause of action

            in federal  district courts  over reparations claims  brought

            under either the  1916 Act or  the 1933  Act.3  The  argument

            goes that SOS  cannot be barred  from pursuing a  reparations

            action  that  could  not  have been  brought  in  the federal

            district  court.  That argument begs the question.  The issue

            here  is  whether  principles  of claim  preclusion  bar  the

            assertion of  a claim before  an agency  which is based  on a

            legal theory that could have been raised by way of defense to




                                
            ____________________

            3.  In  Government of  Guam the  shippers first  initiated an
                    ___________________
            action before  the FMC  against carriers for  reparations for
            rates  alleged to be unlawful  under the 1916  and 1933 Acts.
            The  shippers  later filed  a  virtually  identical claim  in
            federal court  which the court  dismissed.  The  D.C. Circuit
            affirmed the dismissal.  The  shippers conceded that the  FMC
            had the task of resolving the  merits of the dispute, 28 F.3d
            at  144, and there was  no private cause  of action expressly
            provided in the 1916 and 1933 Acts for a shipper to challenge
            a carrier's rates in  federal court.  The shippers  sought to
            continue  the  court action  in  order  to preserve  ultimate
            claims of a  class, claims which the FMC could  not hear, and
            argued  there was  an  implied cause  of  action.   The  D.C.
            Circuit declined to imply a cause of action.
                      In  contrast,  here, the  carrier  had  a cause  of
            action  that was properly before the federal court.  There is
            little reason  to think the Government of Guam court intended
                                        __________________
            to resolve  a dispute of  the sort  faced on the  facts here.
            Indeed,  in a separate part of the opinion, the Government of
                                                            _____________
            Guam  court declined  to  give the  shippers relief  from the
            ____
            consequences of  their failure  to have raised  certain legal
            theories in the district court.  Id. at 149-50.  
                                             ___

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                                          11















            the  district court claim and  which, if it  had been raised,

            could have provided the same relief.

                      A defendant  is barred from  relitigating a defense

            which was available in a prior action by making it  the basis

            of  a claim that would "nullify the initial judgment or would

            impair   rights   established   in   the   initial   action."

            Restatement (Second) of Judgments    22(2)(b).  A defendant's

            failure to raise such a defense precludes  the defendant from

            seeking restitution  of the amount that may have been awarded

            to the plaintiff in the first action.  Id. cmt. b &amp; f, illus.
                                                   ___

            2, 3,  9.  The reparations  action SOS seeks in  this case is

            precisely the type of  restitutionary remedy that, under this

            rule,  is barred.    Were SOS  to  be allowed  a  reparations

            remedy, the  district court's award of  attorneys' fees would

            be  rendered  totally  meaningless   and  there  would  be  a

            concomitant waste of  judicial resources.  We hold that SOS's

            claim for reparations before the FMC is barred.

                      The  policies of  economy,  efficiency, repose  and

            fairness underlying  the claim  preclusion doctrine are  best

            served  by holding SOS to the consequences of its actions and

            inactions.  Under the facts of  this case, SOS had a full and

            fair opportunity to litigate the attorneys' fees issue before

            the  district court.4  Although  it had an  opportunity to do

                                
            ____________________

            4.  A  defendant  must,  of  course,  have  a  full and  fair
            opportunity to raise the  claim in the first action.   In the
            analogous  situation  of  plaintiffs'  claim  splitting,  for

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                                          12















            so,  SOS  neither raised  the  reparations  claim before  the

            federal  court nor argued that there was no jurisdiction over

            the  attorneys' fees  issue.   SOS,  as  a result,  gains  no

            benefit  from  any   jurisdictional  competency  or   "formal

            barrier" exception to the doctrine  of claim preclusion.  Cf.
                                                                      ___

            Restatement (Second)  of Judgments   26(1)(c).   Further, the

            Government of Guam  outcome was not supported by precedent in
            __________________

            the Eleventh  Circuit  nor is  it  binding on  that  circuit.

            Indeed, the FMC  itself has  in the past  taken the  position

            that  federal  courts   have  concurrent  jurisdiction   over

            reparations claims brought  under section 22 of the  1916 Act

            and  that  a  reparations  counterclaim could  be  raised  in

            federal  district court.    See Interconex,  Inc. v.  Federal
                                        ___ _________________     _______

            Maritime Comm'n, 572 F.2d 27, 30 (2d Cir. 1978).
            _______________

                      There is virtually  no practical difference between

            the relief SOS  could have received before the district court

            and what it sought before  the FMC.  The legal theory  -- the

            unreasonableness of the  unilateral attorneys' fees provision

            -- was available to  SOS in the district  court action.   The

            extent of the  relief sought  -- relief from  payment of  the

            attorneys' fees -- was available in the district court.


                                
            ____________________

            example, the Restatement recognizes that the first court must
            have   been  competent   to  adjudicate   the  claim.     See
                                                                      ___
            Restatement (Second) of Judgments   26(1)(c);  see also id.  
                                                           ___ ____ ___
            22(2)  (claim preclusion  over  counterclaims  is limited  to
            claims  that the  defendant  "may [have]  interpose[d]" as  a
            counterclaim in the first action).   

                                         -13-
                                          13















                      The  purely  formal distinctions  on which  FMC and

            intervenor uneasily rest have met with considerable hostility

            when used as attempts to avoid claim preclusion. For example,

            parties who  have failed to raise fraud  and forgery defenses

            in state  court actions have  been barred from  bringing RICO

            claims in  federal court based  on allegations  of fraud  and

            forgery even where  jurisdiction over the RICO claim may have

            been  exclusively federal.   See, e.g., Henry  v. Farmer City
                                         ___  ____  _____     ___________

            State Bank,  808 F.2d  1228, 1236-37  (7th  Cir. 1986);  cf.,
            __________                                               ___

            also, Pirela, 935 F.2d  at 912.  The underlying  rationale is
            ____  ______

            that  claim preclusion applies if the formal barriers did not

            prevent the party  from a  full and fair  opportunity in  the

            first action to  litigate the substance  of the legal  theory

            advanced and remedy sought in the second action.

                      Finally, the results  reached here with respect  to

            the reparations  action are  not outweighed by  concerns over

            the  1916 and 1933 Acts' statutory scheme.  Cf., e.g., United
                                                        ___  ____  ______

            States v. American Heart  Research Found., Inc., 996 F.2d  7,
            ______    _____________________________________

            11 (1st  Cir. 1993) (claim-splitting limitation relaxed where

            applying  it  would  frustrate  a statutory  objective).    A

            different  factual setting  might more  strongly involve  the

            policies behind the 1916 and 1933 Acts, but this is basically

            an  action between two private parties over who will bear the

            costs and  fees of the collection  action here.   In order to

            collect $11,000 in freight charges, an amount SOS says it has



                                         -14-
                                          14















            now paid and does not dispute, PRMSA was forced to spend over
                     

            $100,000  in  attorneys'  fees.     That  Congress  may  have

            preferred that the FMC decide questions of the reasonableness

            of  attorneys' fees  provisions in  carrier tariffs  does not

            justify  upsetting   the  strong  policy  of  honoring  final

            judgments  entered   by  federal   courts.    Cf.   Plaut  v.
                                                          ___   _____

            Spendthrift Farm,  Inc., 115 S. Ct.  1447 (1995) (retroactive
            _______________________

            legislation which reverses a judgment within the power vested

            by  the   courts  is  unconstitutional  as   a  violation  of

            separation  of  powers).   Nor does  it excuse  compliance by

            litigating  parties  with  general  rules  of  federal  claim

            preclusion.

                      SOS  had a  range  of actions  available, which  it

            chose  not  to  follow,  that  would  have  accommodated  the

            interests of both  the judicial  and administrative  systems.

            Before SOS was  sued, it could have paid PRMSA's bill and the

            fees  and  then  brought  an   action  before  the  FMC   for

            reparations.    Alternatively,  once  sued,  SOS  could  have

            asserted an  affirmative defense of illegality and/or brought

            a  reparations counterclaim  in district  court and  sought a

            ruling on  the question of  whether there was  subject matter

            jurisdiction  over  the reparations  counterclaim.   It could

            also have  brought a timely  action in the  FMC and  it could

            have  asked in  a timely fashion  for a stay  of the district

            court action or  a primary jurisdiction  referral.  It  could



                                         -15-
                                          15















            also  have  asked the  district  court to  make  its decision

            without  prejudice to pursuing  the reparations  claim before

            the FMC.  See Restatement (Second) of Judgments   26(1)(b).
                      ___

                      On  these particular facts and equities,5 the FMC's

            decision that SOS was free to avoid claim preclusion and thus

            the  federal court judgment against it  on the four shipments

            for costs and attorneys' fees is, we believe, in error and is

            reversed.




                                
            ____________________

            5.  The  result  reached  here  coincides  with  the  results
            reached  in  Delta  Traffic Serv.,  Inc.  v.  Georgia-Pacific
                         ___________________________      _______________
            Corp., 936  F.2d  64  (2d Cir.  1991),  which  addressed  the
            _____
            jurisdictional  relationship between  the federal  courts and
            the   Interstate   Commerce   Commission   (ICC)   over  rate
            reasonableness  issues.   In  that case,  the Second  Circuit
            denied requests to remand  the case to the district  court to
            assert rate  reasonableness defenses that were  not raised in
            the  district court,  but stated  that Georgia-Pacific  could
            nevertheless continue to pursue  a reparation action based on
            rate unreasonableness  before the ICC.   See id.  at 66.   In
                                                     ___ ___
            Georgia-Pacific, however, Georgia-Pacific requested a stay of
            _______________
            the  district  court  action  and   a  referral  to  the  ICC
            "[c]oincident with the service of its answer"  in the federal
            action.   Id. at 65.  Moreover, the rate reasonableness issue
                      ___
            was  pending before  the ICC  before judgment entered  in the
            federal  court action.  Aware  of the ICC  action, the Second
            Circuit carefully  limited the  scope of its  decision, which
            may  have restricted  any claim  preclusive effects  it might
            otherwise have had.  Id.  at 66; see 18 Charles A.  Wright et
                                 ___         ___
            al., Federal Practice  and Procedure   4413 (1981).  Georgia-
                 _______________________________                 ________
            Pacific does not stand  for the proposition that a  party may
            _______
            collaterally  attack  a  federal court's  final  judgment  by
            raising  before an  agency a  claim based  on a  defense that
            could  have been, but was  not, raised in  the federal court.
            Indeed,  in a  similar case  the Second  Circuit had  earlier
            refused to undermine a  federal district court judgment based
            on a rate unreasonableness defense raised for the  first time
            on  appeal.  See Delta Traffic Service, Inc. v. Appco Paper &amp;
                         ___ ___________________________    _____________
            Plastics Corp., 931 F.2d 5, 7 (2d Cir. 1991).
            ______________

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                      2. FMC  Docket No. 92-12: Cease  and Desist Orders.
                         _______________________________________________

            The issues raised by the appeal from the other administrative

            complaint  are different, as is the outcome.  As PRMSA states

            in its brief, the seven shipments at issue in  FMC Docket No.

            92-12  were never part of the federal court action brought by

            PRMSA.  Even if  these seven shipments arose out  of the same

            transaction  or occurrence  (which is  unclear on  the record

            before  us), as they  must for  PRMSA successfully  to assert

            claim preclusion,  the bar would  work against PRMSA.   PRMSA

            would  then have  split its  claim and  would be  barred from

            suing  on the seven shipments.  A defendant has no obligation

            to raise  affirmative defenses to  claims that have  not been

            brought against it.  Cf.  Restatement (Second) of Judgments  
                                 ___

            22 cmt. b. 

                      The pertinent statutes are  silent on the merits of

            whether the  attorneys' fee  provision in PRMSA's  tariff and

            bill of  lading was  unreasonable because it  was unilateral.

            We  defer to  the expertise  of the  FMC on  the issue.   See
                                                                      ___

            Chevron,  467 U.S. at 842-43.   Section 18(a) of the 1916 Act
            _______

            provides  that carriers  will enforce  "just  and reasonable"

            tariffs  and practices  relating  thereto. 46  U.S.C. app.   

            817(a).   The FMC, which administers the 1916 Act, is charged

            with deciding whether  a carrier's tariff and  bill of lading

            is "just  and reasonable."   In light of the  fact that these

            provisions are  ubiquitous  and shippers  have no  meaningful



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                                          17















            ability  to  avoid  the  provision,  the  FMC held  that  the

            attorneys'  fees  and  costs   provision  was  not  just  and

            reasonable under  a prior  analogous FMC decision,  West Gulf
                                                                _________

            Maritime Ass'n  v. Galveston,  22 F.M.C. 101  (1979) (holding
            ______________     _________

            unreasonable under section  17 of the 1916  Act an attorneys'

            fees provision  that allowed a  terminal operator, but  not a

            user,  to collect attorneys' fees).   We recognize that, West
                                                                     ____

            Gulf   notwithstanding,  two   of  the   FMC's  commissioners
            ____

            dissented  from  the  decision  at issue  here  and  that the

            question of unreasonableness of the attorneys' fees provision

            is by no  means free from doubt.   But the FMC's construction

            of the statute appears  to be permissible.  See  Chevron, 467
                                                        ___  _______

            U.S.  at 842-43.  We therefore affirm the FMC's order insofar

            as it relates to FMC Docket No. 92-12.

                                     Conclusion 

                      The  judgment  of  the  FMC is  reversed  in  part,
                                                      ________

            affirmed in part, and remanded  with directions that the  FMC
            ________________      ________

            dismiss  FMC  Docket  No.  93-21  and  modify  its  order  in

            accordance with  this opinion.   Parties  to bear  their  own

            costs on appeal.  It is so ordered.
                              ________________













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